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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED CENTRAL BANK,                         )
                                             )
                            Plaintiff,       )
v.                                           )    Case No. 10 cv 00331
                                             )    Judge Feinerman
KANAN FASHIONS, INC., CREATIVE               )    Magistrate Judge Mason
WAREHOUSING (Chicago), LLC,                  )
KANAN CRUISES, INC., KANAN                   )
HOLDINGS, LLC, VARSHA SHAH,                  )
AND MEHUL SHAH,                              )
                      Defendants.            )
                                             )
                                             )
UNITED CENTRAL BANK,
                                             )
                            Petitioner,      )
v.                                           )
                                             )
ALAN R. BORLACK, ERIC G.                     )
GROSSMAN, and DAVID E.                       )
MUSCHLER,                                    )
                                             )
                            Respondents.

         POST-HEARING BRIEF ON LAW APPLICABLE TO RESPONDENTS

         Respondents, ALAN R. BORLACK, ERIC G. GROSSMAN, and DAVID E.

MUSCHLER, by and through their attorneys, Alan R. Lipton and Thomas P. McGarry,

file their Post-Hearing Brief on Law Applicable to Respondents, as follows:

                                    INTRODUCTION

         The Court has requested a post-hearing brief addressing the law applicable to

Respondents as applied to the facts adduced during the recent sanctions hearing.

Defendants’ brazen conduct is unprecedented, and Respondents have been unable to



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find case law directly on point. But the Court can and should rely on existing law as

discussed below.

        Without reciting the facts adduced at the hearing, the following conclusions can

be applied to generally applicable principles in existing law:

        1.     Respondents acted at all times in good faith;

        2.     Unknown to Respondents, Defendants willfully ignored Respondents’

repeated instructions to preserve and protect ESI;

        3.     Unknown to Respondents, willfully orchestrated and engaged in a scheme

to obstruct justice by spoliating the CW server and its contents; and

        4.     Defendants actively concealed their criminal spoliation scheme from

Respondents.

        Plaintiff’s motion [Doc. #206] at paragraph 3 asserts four alleged bases for

sanctions against Defendants under Rule 37(b) and the Court’s inherent authority. But

nowhere does the Notice allege any wrongful conduct or violations on the part of

Respondents.1




1       Plaintiffs allege that Defendants (not Respondents) violated: (1) the common law duty to
        preserve the evidence stored on the CW server; (2) the Court’s Standing Order for ESI
        (although the exact violation was not described in UCB’s motion or raised either in
        briefing or during the hearing); (3) “…the Court’s August 27, 2010 ‘instruction’ that no
        spoliation of Defendants’ computer servers occur…”; and (4) “…the Court’s August 27,
        2010 order requiring Defendants to obtain the computer server located at Creative
        Warehousing’s Aurora warehouse…or a forensic image…by September 15, 2010.” Of
        course compliance with the August 27, 2010 order was impossible because the server
        had been sold by FMB to Diagems, FZC and transferred to a man named Jim by the end
        of July, 2010.

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                                  APPLICABLE LAW

A.     There is no authority to sanction an attorney for mere negligence, there must
       be “willful disobedience or bad faith” and attorneys may not be sanctioned for
       “fault”

       In Maynard v. Nygren, 332 F.3d 462, 470-71 (7th Cir. 2003), the Seventh Circuit

held that to assess sanctions against counsel, there must be “willful disobedience or bad

faith.” The court also specifically found “. . . no authority under the [Federal] Rules [of

Civil Procedure] or under the inherent powers of the court to sanction attorneys for

mere negligence.” Id.

       Plaintiff, on the other hand, incorrectly asserts that Maynard merely addresses

whether a court can assess monetary sanctions against an attorney for violations of Rule

37(c). But Maynard does not merely address whether an attorney can be sanctioned for

violations of Rule 37(c). Maynard expressly states that attorneys may not be sanctioned

for mere negligence under [any of] the Federal Rules or the court’s inherent authority.

       Plaintiff also wrongly cites Marrocco v. Goodyear Tire & Rubber Co., 966 F.2d 220,

224 (7th Cir. 1992), as authority for the proposition that attorneys can be sanctioned for

noncompliance with a court order based on fault. Marrocco merely states the general

proposition that under Rule 37(b) parties can be sanctioned for noncompliance with a

court order based on willfulness, bad faith, or fault.      Marrocco does not, however,

address the standard for sanctioning attorneys for their client’s failure to comply with a

court order.

       In its analysis of the basis for sanctioning parties, Marrocco defined “fault” as

“[not] speak[ing] to the noncomplying party's disposition at all, but rather only


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describes the reasonableness of the conduct-or lack thereof-which eventually

culminated in the violation.” Id. at 224. Fault is thus a negligence standard. If fault

were applicable to attorneys, it would eviscerate Maynard’s admonition that attorneys

may only be sanctioned for “willful disobedience or bad faith” and not “mere

negligence”.

         In this case, Respondents acted at all times in good faith. No evidence has been

adduced which suggests that Respondents acted in willful disobedience of a court order

or in bad faith. Rather, the evidence unequivocally shows that Respondents diligently

sought to implement all of this Court’s orders to the best of their abilities.

B.       Assessing sanctions against an attorney under Rule 37(b) requires a causal
         relationship between an attorney advising a party and that party’s
         disobedience of a court order.

         Under the facts of this case, the express language of Rule 37(b)(2)(C) is

particularly appropriate:

               . . . the court must order the disobedient party, the attorney
               advising that party, or both to pay the reasonable expenses,
               including attorneys’ fees, caused by the failure, unless the
               failure was substantially justified or other circumstances
               make an award of expenses unjust.

The Rule specifically refers to “. . . the attorney advising the disobedient party . . .” No

evidence has been adduced that Respondents ever advised Defendants to do anything

which would have resulted in disobedience of a court order or knowingly tolerated

such contumacious conduct by Defendants.            To the contrary, the evidence is that

Respondents conscientiously sought to compel the Defendants to obey the Court’s

orders concerning preservation and production of ESI.


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       However, there was a second attorney, Steven Blumenthal, who, advised

Defendants with regard to ESI in this case.        Mr. Blumenthal’s advice on ESI was

provided to Defendants secretly, without the knowledge or consent of Respondents and

was limited to providing advice on “preserving and protecting” the CW server and its

contents. This secret advice was provided by Mr. Blumenthal despite his knowledge

that Defendants were represented by Respondents in this litigation, that the information

stored on the CW server was relevant to this litigation, that Respondents had issued

repeated litigation holds to Defendants concerning ESI generally and the CW server, in

particular.   Mr. Blumenthal’s advice was directly contrary to and conflicted with

Respondents’ advice concerning the preservation and protection of the information

stored on the CW server. Unknown to Respondents, Defendants secretly followed Mr.

Blumenthal’s advice which led directly to the spoliation of the CW server and its

contents.

       Because Rule 37(b)(2)(C) imposes expenses “caused by” an attorney advising a

disobedient party, the Rule expressly requires a causal relationship between the

disobedience and the advising attorney’s conduct or advice. In this case, Respondents

always urged Defendants to adhere to the Court’s orders.              There is no causal

relationship between Respondents’ conduct or advice concerning the preservation of

ESI and the spoliation of the CW server and its contents, and certainly no causation that

rises to the level of the requisite bad faith or willfulness. Mr. Blumenthal’s secret advice

to Defendants, however, was a direct and proximate cause of the spoliation of the CW

server and its contents which resulted in disobedience of this Court’s ESI orders. By the

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express terms of the Rule, absent a causal relationship between Respondents and

Defendants’ disobedience, Respondents cannot be assessed expenses under Rule 37(b).

      The language of the Rule exempts an advising attorney from an assessment of

expenses if the party’s failure to comply with the court order was “. . . substantially

justified or other circumstances make an award of expenses unjust.” An award of

expenses against Respondents would constitute a miscarriage of justice. Not only does

the evidence show that Respondents acted at all times in good faith seeking to

implement the Court’s ESI orders, but the evidence also shows that Respondents were

lied to and deceived by their own clients. These lies paved the way for Defendants to

spoliate the CW server, because to successfully eliminate the server and its contents, it

was first necessary to deceive Respondents, who in turn, unwittingly passed

Defendants’ misrepresentations on to the Court and counsel. In short, Respondents

were victimized by Defendants’ fraud on the Court in exactly the same way as were the

Court and Plaintiff. It would be a miscarriage of justice to assess expenses against

Respondents for Defendants’ violation of the Court’s orders when Respondents were

victimized by the same fraudulent conduct as were the Court and counsel.

      Defendants’ fraudulent misrepresentations to Respondents and ultimately to the

Court allowed them to spoliate the CW computer and its contents in order to conceal

evidence fatal to their case. This conduct constitutes the crime of obstruction of justice.

It is elementary that criminal conduct is an unforeseeable, superseding, intervening

cause of damages.     It would be the height of injustice to make Respondents the

guarantors of damages arising from a crime perpetrated by Defendants.                 If Rule

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37(b)(2)(C) sanctions may only be assessed against an advising attorney for willful

disobedience or bad faith, it is axiomatic that advising attorneys cannot be sanctioned

for the unforeseeable, superseding criminal conduct of their clients.

C.       Respondents’ efforts to preserve ESI met the standards of Zubulake, and
         Defendants acted at their own peril in disregarding Respondents’ preservation
         instructions.

         Zubulake v. UBS Warburg, LLC, 229 F.R.D. 422 (S.D.N.Y. 2004 ) outlines counsel’s

duties with respect to preservation of ESI.       The evidence shows that Respondents

faithfully adhered to the common law duties discussed in Zubulake. But that adherence

is almost beside the point because Defendants continually lied to Respondents about

their alleged efforts to preserve and protect ESI and secretly ignored Respondents’

instructions concerning the CW server. According to Zubulake:

               At the end of the day, however, the duty to preserve and
               produce documents rests on the party. Once that duty is
               made clear to a party, either by court order or by
               instructions from counsel, that party is on notice of its
               obligations and acts at its own peril. . . .

Id. at 432.

         There is no doubt that Defendants acted contrary to Respondents’ many

instructions concerning ESI and in particular the CW server.            Rather, Defendants

followed the conflicting advice of another attorney. According to Zubulake, Defendants

were fully on notice of their discovery obligations and acted at their own peril when

they rejected Respondents’ instructions concerning the CW server and chose instead to

follow the conflicting advice of a different legal counsel.




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       Plaintiff has suggested that Respondents did not “monitor” compliance with the

litigation hold, apparently implying that monitoring compliance would have uncovered

Defendants’ criminal intent. But Zubulake defines “monitoring compliance with the

litigation hold” as taking “affirmative steps” to monitor compliance “ . . . so that all

sources of discoverable information are identified and searched . . . counsel and client

must take some reasonable steps to see that sources of relevant information are

located.” Id. at 432. Under Zubulake’s definition, Respondents complied with the duty

to monitor once the CW server was located and counsel instructed Defendants to get

control of the server so that its contents could be reviewed.

       Zubulake also addresses the continuing duty to preserve ESI: “[A] lawyer cannot

be obligated to monitor his client like a parent watching a child. At some point, the

client must bear responsibility for a failure to preserve.” Id. at 433. The case before this

Court is unprecedented in the sense that existing case law has not addressed a situation

where a party arranges behind his lawyers’ backs for a computer server containing

damaging or incriminating ESI to simply disappear. In such a case, the party who has

engaged in the deceptive, criminal conduct must “bear responsibility for a failure to

preserve.” It would be inequitable and unjust to make that party’s counsel the insurer

of evidence that, unknown to counsel, was destined for oblivion.

D.     A client’s lack of candor is a factor to be weighed when evaluating whether
       counsel has acted in willful disobedience of a court order or in bad faith.

       In Qualcomm Inc. v. Broadcom Corp., 2010 WL 1336937 (April 2, 2010 S.D.Cal.,

2010) (“Qualcomm III”), the district court reversed its earlier decision to impose



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sanctions upon the attorneys for an inadequate document search, an inadequate

investigation when unproduced documents were discovered, and failure to ensure that

there was a legitimate factual basis for their legal argument. Id. at *1-5. In reversing the

attorneys’ sanctions, the court noted that the discovery failures “were exacerbated by an

incredible lack of candor on the part of [their client].” Id. at *4. The court went on to

hold “that, although a number of poor decisions were made, the involved attorneys did

not act in bad faith.” Id. at *6-7. Although these were “significant errors,” the court

concluded that “there is insufficient evidence to prove that any of the Responding

Attorneys engaged in the requisite ‘bad faith’.” Id. at *7 (Emphasis added). In this case,

Defendants did not merely display a “lack of candor” to Respondents, they made

fraudulent misrepresentations. In short, they lied to conceal their scheme.

       The finding in Qualcomm III should be contrasted with the district court’s

affirmance of a Special Master’s award of attorneys’ fees under Rule 37(b)(2) jointly and

severally against an attorney and his client for the client’s disobedience of an order:

              We also affirm the Special Master’s finding that defendants’
              attorney . . . should be held jointly and severally liable for
              the expense award, because he was the attorney advising the
              party failing to obey the order, because the Master found
              that he “contributed significantly to the pattern of delay and
              defiance,” and because there appear no other circumstances
              making such an award unfair or unjust.

Chesa Int’l, Ltd. v. Fashion Associates, Inc., 425 F.Supp. 234, 237 (S.D.N.Y. 1977). Chesa is

cited with approval in Roadway Express, Inc. v. Piper, 447 U.S. 752, 763-764, 100 S.Ct. 2455

(1980), as a case in which both parties and counsel may be held personally liable under

Rule 37(b) for expenses caused by a failure to comply with discovery orders.


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       In the case before the Court, there is no evidence that Respondents “contributed

significantly” or in any other way to Defendants’ scheme to spoliate the CW server and

its contents. To the contrary, the only reasonable interpretation of the evidence is that

Respondents were intentionally cut out of the loop with respect to Defendants’

nefarious plans and as a result cannot be shown to have caused the spoliation in any

way let alone acted in willful disobedience of a court order or in bad faith.

                                        CONCLUSION

       For all of the foregoing reasons, the applicable law clearly does not permit an

award of sanctions of any kind against Respondents including under Rule 37(b), the

court’s inherent authority or under any other legal theory. Plaintiff has failed to show

by any burden of proof or to any standard of fairness or justice applicable to discovery

sanctions against attorneys that Respondents acted in willful disobedience of a court

order or in bad faith. To the contrary, the only reasonable interpretation of the evidence

is that Respondents not only discharged their ESI duties at all times in good faith, but

that they were intentionally cut out of the loop with respect to Defendants’ nefarious

plans. As a matter of aw and equity and award of sanctions against them is neither

warranted nor just under the circumstances.

       WHEREFORE, Respondents respectfully request that because of Defendants’

inequitable, unjust and criminal conduct that led to the need for Respondents to defend

against a clearly unmeritorious sanctions motion, the Court issue a Rule to Show Cause

why Defendants should not be required to pay Respondents’ expenses, including

attorneys’ fees and costs incurred in the defense of this motion. Respondents also

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respectfully request that the Court award them such other and further relief as is just

and proper in the premises.

                                              Respectfully submitted,

                                              ALAN R. BORLACK, ERIC G.
                                              GROSSMAN, and DAVID E. MUSCHLER

                                              By: /s/Alan R. Lipton
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